


  PER CURIAM.
 

  The petition seeking a belated appeal of the judgment and sentence rendered July 24, 2008, in Suwannee County Circuit Court case number 02-442CF, is granted. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as a notice of appeal.
  
   See
  
  Fla. R.App. P.
   
   *1233
   
  9.141(c)(5)(D). If petitioner qualifies for the appointment of counsel at public expense, the lower tribunal shall appoint counsel to represent him on appeal.
 

  ROBERTS and CLARK, JJ„ and BROWNING, JR, EDWIN B, Senior Judge, concur.
 
